                  Case 4:11-cr-00290-LPR                     Document 567             Filed 11/19/14         Page 1 of 1
         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                   UNITED STATES DISTRICT COURT                                                       FILED
                                                                                                                    U.S. DISTRICT COURT
                                                                                                                EASTERN DISTRICT ARKANSAS
                                                       Eastern District of Arkansas
                                                                                                                   NOV 19 2014
                   UNITED STATES OF AMERICA
                                        v.
                                                                                                        JAfvtislW~LERK
                                                                                                        Sy:~
                                                                                      Case               ·~CLERK
                                                                                                    4:11CR00290-01-JLH
                               Claudia Suarez                                         Number:
                                                                                      USM           71976-279

Date of Original Judgment:                         July 15. 2013

Date of Previous Amended Judgment: NIA                                                NIA
(Use Date ofLast Amended Judgment if Any)                                             Defendant's Attorney



       ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        D the defendant     D the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § lBl.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
                DDENIED.
                X GRANTED and the defendant's previously imposed sentence of imprisonment of
                      100 months is reduced to 80 months.




Except as provided above, all provisions of the judgment dated July 15, 2013 will remain in effect.

IT IS SO ORDERED.

Order Date:     /1..4.ev./e: tl tCJ/)O
                                    I




Effective Date: November l, 2015
                (If different from order date)




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